Case 8:22-cv-00343-MSS-SPF Document 42 Filed 06/13/22 Page 1 of 1 PageID 450




                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

VALERIE FLYNN,

      Plaintiff,

v.                                                 Case No: 8:22-cv-343-MSS-SPF

CABLE NEWS NETWORK, INC.,

      Defendant.



                                     ORDER

      Upon review of the Parties’ Uniform Case Management Report, (Dkt. 34), the

Parties are ORDERED to file a Motion to Consolidate for Purposes of Discovery,

pursuant to Federal Rules of Civil Procedure Rule 42, with Flynn v. CNN, currently

pending in this Court at Docket No. 8:22-cv-512.

      DONE and ORDERED in Tampa, Florida, this 13th day of June, 2022.




Copies furnished to:
Counsel of Record
Any Unrepresented Person
